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                                6 TOYO TIRE U.S.A. CORP., TOYO TIRE CORPORATION,
                                  AND NITTO TIRE U.S.A. INC.
                                7
                                8                            UNITED STATES DISTRICT COURT
                                9                          CENTRAL DISTRICT OF CALIFORNIA
                          10
                          11 TOYO TIRE U.S.A. CORP., TOYO                     Case No. 8:20-cv-00502
                             TIRE CORPORATION, AND NITTO
                          12 TIRE U.S.A. INC.,                                COMPLAINT FOR:
                          13                        Plaintiffs,               (1) TRADEMARK
                                                                                  INFRINGEMENT (LANHAM
                          14                vs.                                   ACT)
                          15 STEVEN MANDALA, d/b/a                            (2) FALSE DESIGNATION OF
                             JSIMPORTCO, d/b/a TIREGRAFICX,                       ORIGIN (LANHAM ACT)
                          16 d/b/a TIRE GRAFICX, d/b/a FORMULA
                             MOTORSPORTS, FORMULA TIRE                        (3) TRADEMARK DILUTION
                          17 CORPORATION, INC. AND DOES 1                         (LANHAM ACT)
                             through 10,
                          18                                                  (4) FALSE ADVERTISING
                                         Defendants.                              (LANHAM ACT)
                          19
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      BUCHALTER
A PROFES SION AL CORPORAT ION                                             1
           IRVINE
                                    COMPLAINT
                                    BN 35625029v1
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  1           Plaintiffs TOYO TIRE U.S.A. CORP., TOYO TIRE CORPORATION, AND
  2 NITTO TIRE U.S.A. INC. (collectively "Plaintiffs") allege as follows:
  3                                JURISDICTION AND VENUE
  4           1.       This action arises under the trademark laws of the United States. This
  5 Court has original jurisdiction over the subsequent matter of this action pursuant to
  6 28 U.S.C. §§1331(a) and 15U.S.C. §1121(a).
  7           2.       Plaintiffs are informed and believe, and based thereon allege, that the
  8 court has personal jurisdiction over defendants because defendants have engaged in
  9 substantial physical business activities within the State of California and
 10 specifically at least in Orange County, California. Plaintiffs are informed and
 11   believe, and based thereon allege, that defendants operate internet websites that
 12   utilized the infringed trademarks identified herein that offer for sale and sell
 13 products that infringe the trademarks discussed herein in the State of California
 14 within at least Orange County, California and that defendants have in fact sold and
 15 delivered infringing products including tire stickers in the State of California at
 16 least within Orange County, California.
 17            3.      Venue is properly asserted against defendants in this District under 28
 18   U.S.C. §1391(b) in that a substantial part of the events or omissions giving rise to
 19 the claims herein arose in this District.
 20                                         THE PARTIES
 21            4.      Plaintiff Toyo Tire U.S.A. Corp. ("Toyo U.S.A.") is a California
 22 corporation with its corporate headquarters and principal place of business in
 23 Cypress, California. Toyo U.S.A. is the exclusive seller of "Toyo" brand tires.
 24 Toyo U.S.A. was founded in 1966 as a wholly-owned subsidiary of Toyo Tire
 25 Holdings of Americas Inc., which is wholly-owned by Toyo Tire Corporation
 26 ("Toyo Tire"). Toyo U.S.A. was the first subsidiary of a Japanese tire manufacturer
 27 to be established in the United States, starting out in a small office in Southern
 28 California, where it began warehousing and distributing commercial truck tires.
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  1   Subsequently, Toyo U.S.A. began offering passenger and light truck replacement
  2 tires, and through a network of independent tire dealers, grew the Toyo Tire brand
  3 in the United States. Toyo U.S.A. currently sells a broad range of Toyo branded
  4 tires for passenger cars, light trucks, commercial vehicles, trucks, and buses. In
  5 addition, Toyo U.S.A. is responsible for marketing the Toyo trademarks in the
  6 United States and licenses apparel and other goods bearing the Toyo trademark.
  7           5.      Plaintiff Toyo Tire is a Japanese corporation with its corporate
  8 headquarters and principal place of business at 2-2-13 Fujinoki, Itami-shi, Hyogo
  9 664-0847, Japan. Toyo Tire was established in 1945 and is one of the world's most
 10   renowned manufacturers and distributors of tires. Internationally, Toyo Tire has
 11   produced tires for over 70 years. After decades of growth and success, Toyo Tire
 12 established Toyo Tire U.S.A. Corp., Nitto Tire U.S.A. Inc., Toyo Tire Holdings of
 13 Americas Inc., Toyo Tire North America OE Sales LLC and Toyo Tire North
 14 America Manufacturing Inc. in the United States. Throughout its existence, Toyo
 15 Tire has maintained commitment to its technological innovations, quality and
 16 performance, and excellent customer service of its tires. In the United States, Toyo
 17 Tire has repeatedly been named #1 Overall Brand by North American Tire Dealers
 18   in Tire Review Magazine's Annual Tire Brand Study. Toyo Tire offers consumers
 19 a wide range of tires to fit virtually any need and any type of vehicle under the
 20 "Toyo" and "Nitto" brands. Toyo and Nitto brand tires are sold worldwide and are
 21 used by families, competitive racers, off-road enthusiasts, and professional and
 22 commercial drivers. The brands have been featured in movies, television shows,
 23 sporting and entertainment events throughout the United States and the world.
 24 Plaintiffs routinely sponsor high profile sporting and entertainment events, athletes,
 25 race car drivers and driving teams throughout the United States. The athletes and
                                                                              i


 26 events Plaintiffs sponsor prominently display their trademarks. Plaintiffs' famous
 27 trademarks are recognized instantly among consumers of vehicle tires as well as
 28   people involved as participants and fans of auto racing both on-road and off-road.
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   1 Toyo and Nitto trademarks are used on tires, apparel, stickers and many other
   2 promotional items all referring to Plaintiffs as their source or sponsorship.
   3           6.      Plaintiff Nitto Tire U.S.A. Inc. ("Nitto Tire") is a California
  4 corporation with its corporate headquarters in Cypress, California. Nitto Tire is a
   5 wholly-owned subsidiary of Toyo Tire Holdings of Americas Inc. which is wholly-
   6 owned by Toyo Tire. Nitto Tire sells Nitto branded tires for high performance,
   7 racing, luxury-touring, and passenger vehicles, as well as SUV's, rugged off-road
   8   and on-road light trucks. In addition, Nitto Tire is responsible for marketing the
   9 Nitto trademarks in the United States and licenses apparel and other goods bearing
 10 the Nitto trademark.
 11            7.      Plaintiffs are informed and believe, and based thereon allege, that
 12    defendant Steven Mandala is an individual residing in Orlando, Florida. Plaintiffs
 13 are further informed and believe, and based thereon allege, that at all time relevant
 14 hereto Steven Mandala was the alter ego and agent of the businesses identified and
 15 described herein including, but not limited to, (a) an eBay business selling materials
 16    for tires known as JSIMPORTCO, (b) a website and web domain known as
 17 //shop.tiregraficx.com, (c) the owner and operator of the business entity Formula
 18 Tire Corporation, Inc., (d) internet based business known as
 19 www.instagram.com/tiregraficx ("@tiregraficx") and
 20 www.facebook.com/tiregraficx, (e) the owner and operator of a business known as
 21    Formula Motorsports; (f) all of the foregoing businesses also sell on Amazon.com;
 22    (g) internet based business known as www.custom-tire.com; and (h) other
 23 businesses engaging in the conduct described herein.
  24           8.      Plaintiffs are informed and believe, and based thereon allege, that
  25 defendant Formula Tire Corporation, Inc. is a Florida Corporation with its principal
  26 place of business in Orlando, Florida. Plaintiffs are further informed and believe,
  27 and based thereon allege, that Formula Tire Corporation is and at all times was
  28   wholly owned by defendant Steven Mandala and that it participated in the conduct
                                                     4
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   1 alleged herein with Steven Mandala and others acting as its agents, employees and
   2 representatives in engaging in the actions described herein
   3            9.       Plaintiffs are informed and believe, and based thereon allege, that the
   4 identity of Doe defendants 1 through 10 are not known to Plaintiffs. However,
   5 Plaintiffs are informed and believe, and based thereon allege, that the Doe
   6 defendants engaged in all of the acts set forth herein and that all defendants
   7 identified herein acted as the agents, employees, representatives or are otherwise
   8 responsible for the acts of each of the other defendants identified herein.
   9            10.      Defendants Steven Mandala, Formula Tire Corporation, Inc. and all of
  10 the Doe Defendants are herein referred to collectively as "Defendants."
  11                                         TRADEMARKS
  12            11.      Plaintiffs own all intellectual property related to the Toyo/Nitto Marks
  13 (defined infra) used in connection with the goods and services identified by
  14 Plaintiffs in the trademark applications and registrations, and also in connection
  15 with all related goods and services within the normal zone of expansion of
  16   Plaintiffs' goods and services.
  17            12.      Through extensive and continuous use, Plaintiffs' own numerous
  18   trademarks and registrations (including common law variations) containing the
  19 terms TOYO and NITTO used on and in connection with their goods and services,
  20   including, but not limited to, the following:
             Mark           Date       Registration    First Use             Goods & Services
  21                      Registered       No.
         TOYO TIRES        7/7/2009      3652765      3/29/2005      FINANCIAL SPONSORSHIP OF RACING
  22
                                                                                  EVENTS
  23     TOYO TIRES       12/22/2015     4875109          6/2015          GYM BAGS; SPORTS BAGS
         TOYO TIRES        4/8/2008      3409258      1966; 1998;   TIRES; BACKPACKS; MUGS; THERMAL
  24                                                  1998; 1998;   INSULATED WRAP FOR CANS TO KEEP
                                                          2001       CONTENTS COLD OR HOT; DIE CAST
  25                                                                               CARS
         TOYO TIRES        4/8/2008      3409221          1998      DECALS; CLOTHING (JACKETS, T-SHIRTS,
  26
                                                                                  SHIRTS,
  27                                                                POLO SHIRTS, SWEATPANTS, JACKETS,
                                                                         HATS, HEADWEAR, GLOVES)
  28
                                                      5
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         1        Mark         Date       Registration   First Use             Goods & Services
                             Registered       No.
     2        TOYO TIRES     4/7/2009      3602754                                   TIRES
               (STYLIZED)
     3
               DRIVEN TO     9/30/2008     3510136        9/2006       FINANCIAL SPONSORSHIP OF RACES

     4         PERFORM
               DRIVEN TO     12/4/2007     3348516        9/1986;     TIRES; CLOTHING (JACKETS, T-SHIRTS,
     5         PERFORM                                       1988                   SHIRTS,
                                                                      POLO SHIRTS, SWEATSHIRTS, JACKETS,
     6                                                                         HATS, HEADWEAR)
                 PROXES      1/21/1992     1672988       4/3/1991                    TIRES
     7
                  OPEN       3/6/1984      1269131       1/10/1981                   TIRES

     8         COUNTRY
                  TOYO       9/12/2017     5285958           1966                    TIRES
     9         (STYLIZED)
                  TOYO       9/12/2017     5285092           1966                    TIRES
 10               NITTO      11/28/17      5346752        3/2011       PROMOTING SPORTS COMPETITIONS
               (STYLIZED)                                               AND EVENTS OF OTHERS, NAMELY
  11
                                                                      AUTOMOBILE RACES AND AUTOMOBILE
                                                                        AND RACE-CAR DRIVING EVENTS
 12
                  NITTO      11/1/2016     5071217        1/2007                     TIRES
 13            (STYLIZED)
                  NITTO       9/26/17      5296956           2003      FINANCIAL SPONSORSHIP OF RACING
 14            (STYLIZED)                                                           EVENTS
                  NITTO      9/17/2017     5291588           2000        CLOTHING (JACKETS, T-SHIRTS,
  15           (STYLIZED)                                             POLO SHIRTS, SWEATSHIRTS, JACKETS,
                                                                               HATS, HEADWEAR)
 16
                  NITTO      10/25/16       5067021       4/2014       ENTERTAINMENT SERVICES, NAMELY,
  17           (STYLIZED)                                                FILM AND VIDEO PRODUCTION
                                                                          SERVICES; DVD PRODUCTION
  18                                                                  FEATURING MULTIMEDIA SPORTS AND
                                                                          ENTERTAINMENT CONTENT;
 19                                                                    ENTERTAINMENT IN THE NATURE OF
                                                                       MOTORIZED VEHICLE MOTORSPORTS
  20
                                                                        EVENTS, RALLIES AND EXHIBITIONS

  21              NITTO      8/27/1968      0855563       1/1960                 VEHICLE TIRES
                  NITTO      4/15/2014      4514194          3/2004   ANTI-SLIPPING DASHBOARD MATS FOR
  22                                                                   HOLDING PERSONAL ITEMS THAT ARE
                                                                      AFFIXED OR SPECIAL ADAPTED TO THE
  23                                                                             AUTOMOBILE
                  NITTO      11/29/2016     5089020          1996      WRITING INSTRUMENTS; STICKERS;
  24                                                                             VINYL DECALS

  25              NITTO       6/2/2015      4745969          9/2012           WATCHES, JEWELRY
                  NITTO       7/1/2014      4558994          2/2009       IRON-ON CLOTH PATCHES FOR
  26                                                                               CLOTHING
                  NITTO      4/15/2014      4514195       11/2002      LANYARDS FOR HOLDING ID CARDS,
  27                                                                       ENTRY TICKETS AND PASSES

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 I ION                                                   6
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  1         Mark          Date       Registration    First Use            Goods & Services
                        Registered       No.
  2        NITTO        1/24/2017     5126616        12/2007     PORTABLE STORAGE DEVICES, NAMELY
                                                                   BLANK USB'S; SUNGLASSES; AUDIO
  3                                                                  EQUIPMENT, NAMELY, AUDIO

  4                                                              SPEAKERS; DOWNLOADABLE SOFTWARE
                                                                      IN THE NATURE OF MOBILE
  5                                                                APPLICATIONS RELATED TO TIRES,
                                                                  RACING AND TRAVEL; FITTED PLASTIC
  6                                                                  FILMS KNOWN AS SKINGS FOR
                                                                   COMPUTER TABLETS; COMPUTER
  7                                                               MOBILE DEVICE CASES AND HOLDERS;
                                                                  SMART PHONE CASES; HEADPHONE
  8
                                                                    CASES; TIRE PRESSURE GAUGES
  9        NITTO        7/8/2014      4562807           1990      ENTERTAINMENT IN THE NATURE OF
                                                                   MOTORIZED VEHICLE EVENTS AND
 10                                                                          EXHIBITIONS
           NITTO        7/1/2014      4558991           2003      FINANCIAL SPONSORSHIP OF RACING
 11                                                                            EVENTS
           NITTO        4/15/2014     4558992         3/2011      PROMOTING SPORTS COMPETITIONS
 12
                                                                        AND EVENTS OF OTHERS

 13        NITTO        4/15/2014     4514189         6/2006         PLAY MOTOR CARS; TOY CARS
           NITTO        5/26/2015     4741643           2000         CLOTHING (JACKETS, T-SHIRTS,
 14                                                               POLO SHIRTS, SWEATSHIRTS, JACKETS,
                                                                          HATS, HEADWEAR)
 15         NITTO       4/15/2014     4514190         2/2008                    MUGS
            NITTO       4/15/2014     4514191        11/2004               AIR DEODORIZER
 16
            NITTO       6/23/2015     4758280         8/2008         LUGGAGE TAGS; SPORTS BAGS;
 17                                                                     BACKPACKS; LUGGAGE
              NT        9/18/2018     5565769       12/31/2010                  TIRES
 18      NT (ICON)       6/3/2008     3442691         8/2007                    TIRES
         GRAPPLER        3/4/2008      3390759      3/31/2001                   TIRES
 19         DURA        2/26/2008      3389465      10/31/2006                  TIRES
         GRAPPLER
 20
            RIDGE       9/13/2016      5042180       7/5/2016                   TIRES
 21      GRAPPLER
           TERRA        11/8/2011      4052417          3/2002            TIRES FOR VEHICLES
 22      GRAPPLER
            MUD         11/8/2011      4052157          2/2004            TIRES FOR VEHICLES
 23      GRAPPLER
            DUNE        4/17/2007      3230678       11/2005                    TIRES
 24
         GRAPPLER
 25         TRAIL       4/13/2010      3775783      7/31/2009             TIRES FOR VEHICLES
         GRAPPLER
 26         NT555       10/20/2015     4836456          1/1998            TIRES FOR VEHICLES
            INVO        6/12/2007      3251846      11/1/2005                   TIRES
 27
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  1           13.     Plaintiffs have also obtained trademark rights in their R888 trademark
  2 which have been used to identify Plaintiffs as the source of tires branded R888
  3 since 2007. Plaintiffs have continuously used the R888 trademark since 2007. The
  4 R888 trademark is used on vehicle tires. Plaintiffs have used the R888 trademark
  5 in advertising and marketing on the Internet as well as point of sale displays, on the
  6 tires themselves, and many forms of print advertising and marketing throughout the
  7 United States. As a result of the product quality and foregoing efforts as well as
  8 other advertising, sales, and marketing, Plaintiffs have acquired substantial and
  9 valuable goodwill in the R888 trademark.
 10           14.     The trademarks identified in Paragraph 12, above, are valid and
 11   subsisting (collectively referred to as the "Toyo/Nitto Marks").
 12           15.     As early as 1966, Plaintiffs have continuously used, advertised, offered
 13 for sale, and/or sold in interstate commerce, Plaintiffs' goods and services under the
 14 Toyo Marks, and as early as 1949 under the Nitto Marks throughout the United
 15 States through various different methods.
 16           16.     Plaintiffs' actual and intended class of consumers throughout the
 17   United States are consumers of tires, auto racing enthusiasts, off-roading
 18 enthusiasts, and related consumers.
 19           17.     Plaintiffs have devoted substantial time, effort and resources in the
 20 establishment of the goodwill, consumer recognition and nationwide reputation of
 21   the Toyo/Nitto Marks.
 22           18.     Plaintiffs have also expended significant resources to advertise their
 23 goods and services under the Toyo/Nitto Marks throughout the United States in
 24 multiple media, including, but not limited to print advertising, websites, Internet
 25 advertisements, point of sale displays and social media networking sites.
 26           19.     The Toyo/Nitto Marks are inherently distinctive and famous within the
 27 meaning of 15 U.S.C. §1125(c).
 28           20.     Plaintiffs have not abandoned any of the Toyo/Nitto Marks.
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   I                         DEFENDANT'S WRONGFUL CONDUCT
  2             21.     In 2018, Plaintiffs were informed that Defendants were using the
  3 Toyo/Nitto Marks in connection with goods and services which overlap with those
  4 of Plaintiffs. In fact, Plaintiffs are informed and believe, and based thereon allege
  5 that Defendants have been and currently are offering for sale and selling counterfeit
  6 goods incorporating the Toyo/Nitto Marks as well as falsely marketing and
  7 advertising themselves as authorized sellers of products for Plaintiffs.
  8             22.     On December 12, 2018, Plaintiffs' in-house counsel sent a letter to
  9 Defendants by Federal Express in an attempt to resolve the issue. Defendants did
 10 not respond and continued to infringe the Toyo/Nitto Marks and Plaintiffs' other
  11   trademark rights. A copy of Plaintiffs' December 12, 2018 letter is attached hereto
 12    as Exhibit A. On February 8, 2019, outside counsel for Plaintiffs sent another
 13 letter to Defendants demanding that Defendants cease using the Toyo/Nitto Marks.
 14 A copy of that letter is attached hereto as Exhibit B.
 15             23.     Defendants responded to Plaintiffs' outside counsel claiming to have
 16    received a license to use Plaintiffs' Toyo/Nitto Marks from a company known as
 17 TredWear. On review of the purported license, Plaintiffs are informed and believe,
 18    and based thereon allege, that the purported license (1) is a forgery and not a
 19 document from TredWear and not a license to use the Toyo/Nitto Marks at all; (2)
 20 even if the purported license was not a forgery, it was only valid for the sale of
 21    certain products associated with Toyo Marks ~ and not Nitto Marks ~ because
 22 TredWear never had any rights to use Nitto Marks; (3) the purported license from
 23 TredWear was expressly limited to tire stickers made by TredWear and Defendants
 24 were/are selling tire stickers made by third parties other than TredWear using the
 25 Toyo/Nitto Marks; and (4) TredWear ceased to have the right to make Toyo
 26 stickers or license any use of the Toyo trademark in 2018.
 27             24.     On November 18, 2019, Plaintiffs informed Defendants that the
 28    purported license Defendants were relying upon was invalid and, for the sake of
                                                    9
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    1   clarity, Plaintiffs informed Defendants that to the extent Defendants claim any right
    2 to use the Toyo/Nitto Marks under any license, Plaintiffs terminated any such
    3 rights. A copy of Plaintiffs' letter dated November 18, 2019 is attached hereto as
    4   Exhibit C. Plaintiffs are informed and believe, and based thereon allege, that
    5 Defendants have continued to sell tire stickers bearing the Toyo/Nitto Marks and
    6 continued to use those marks in Defendants' advertising and marketing. Moreover,
    7 Plaintiffs are informed and believe, and based thereon allege, that Defendants have
    8 continued to claim that they are authorized retailers of Plaintiffs' products.
    9           25.     Plaintiffs' goods and services include the sale of tires and tire stickers
  10 through authorized vendors using the Toyo/Nitto Marks. Defendants compete with
   11   Plaintiffs by selling counterfeit tire stickers that use the Toyo/Nitto Marks without
  12 any right to use those trademarks. And, Defendants claim to be authorized retailers
  13 of Plaintiffs' products even though they have no authorization to sell Plaintiffs'
  14    products or use Plaintiffs' trademarks.
  15            26.     Plaintiffs are informed and believe, and based thereon allege, that
  16 Defendants began illegally using the Toyo/Nitto Marks in 2015 on tire stickers and
   17   other goods. Plaintiffs are further informed and believe that Defendants have
  18    marketed their businesses using the Toyo/Nitto Marks to draw attention to their
   19 businesses. Plaintiffs are informed and believe, and based thereon allege, that
   20   Defendants' sales of other products were increased as result of Defendants' use of
   21   the Toyo/Nitto Marks in Defendants' advertising and marketing.
   22           27.     The following are examples of Defendants' infringing use of the
   23 Toyo/Nitto Marks:
   24

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   26
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                                                                                                                                                                                       $129.99
                                                                                                              Permanent Tire Lettering Kit (8 Decal
   5                                                                                                          Pack) (Yellow, 1.25")
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                                                 NITTO NT555 Permanent                                                 NITTO Racing Permanent
  22                                             Tire Lettering Kit (8 Decal                                           Tire Lettering Kit (8 Decal
                                                 Pack) (RED, 1.00")                                                 Pack) (White, 1.00")
  23                                             $159.99                                                            $129.99

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   4                                                                                                               FORMULA TIRE CO. - Toyo R888
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   5                                                                                                               Pack) (White, 1.25")
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                                                                                                                   • TOYO TIRES R888 Permanent Tire Lettering Kit, 18"- 20"

  10                                                                                                                    Wheel Size {8 Decal Pack)
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  12                                                                                                                • Each DIY Kit comes with easy-to-follow installation
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  19                                                                                                                Permanent Tire Lettering Kit (8 Decal
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                                                                                                                        • Toyo Proxes Permanent Tire Lettering Kit, 18"- 20"
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   1            28.     The foregoing images of Defendants' infringing activities are only a
   2 small part of the infringement and use of the Toyo/Nitto Marks for Defendants'
   3 benefit. These images were taken from Defendants' Amazon, eBay, and Twitter
   4 pages, //shop.tiregraficx.com website, YouTube videos and other sources. Other
   5 examples of Defendants' trademark infringement are attached hereto as Exhibit D.
   6            29.     Defendants' infringing activities include the use of the Toyo/Nitto
   7 Marks in Defendants' advertising and marketing, as well the sale of counterfeit tire
   8 stickers and other products using the Toyo/Nitto Marks. In addition, Defendants'
   9 infringing activities include express representations on their various websites and
  10 other internet business sites that Defendants are authorized sellers of Plaintiffs'
  11    products.
  12            30.     Defendants' infringing activities also include directing its customers to
  13 post images of Defendants' counterfeit products on Defendants' websites including
  14 the following:
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      1           31.     Plaintiffs are informed and believe, and based thereon allege, that
      2 Defendants continued use of the Toyo/Nitto Marks in marketing and advertising
      3 and tire decals and other goods is intended to, and will cause confusion, mistake or
      4 deception amongst consumers and the industry, and lead to increased business for
      5 Defendants based on Plaintiffs' goodwill.
      6           32.     By virtue of its acts and conduct alleged above, Defendants have
      7 caused damages to Plaintiffs, as a result of confusion as to the source of origin and
      8 sponsorship of Defendants' goods and services, and Defendants have otherwise
      9 competed unfairly with Plaintiffs. Such likelihood of confusion includes, but is not
   10 limited to, confusion of consumers and the general public that Defendants' goods
   11     and services which are advertised using the Toyo/Nitto Marks are directly
   12     connected with Plaintiffs and their brands.
   13             33.     Defendants' acts and conduct have caused damages and irreparable
   14 injury to Plaintiffs in an amount to be determined at trial. Said acts and conduct
   15 will result in further damage and irreparable injury to Plaintiffs if Defendants are
   16 not immediately restrained by this Court from further violation of Plaintiffs' rights,
   17 for which Plaintiffs have no adequate remedy at law.
    18                                 FIRST CLAIM FOR RELIEF
   19                     (Federal Trademark Infringement - 15 U.S.C. §1114)
   20             34.     Plaintiffs repeat, reallege, and incorporate by reference, as though fully
   21     set forth herein, the allegations contained in all prior and subsequent paragraphs.
   22             35.     Defendants have both actual and constructive knowledge of Plaintiffs'
   23 ownership and rights in its federally registered marks prior to Defendants'
   24 infringing use of those marks.
   25             36.     Plaintiffs are informed and believe, and based thereon allege, that
   26     Defendants has been advertising, marketing and promoting services using the
    27 Toyo/Nitto Marks identified above. Defendants' use of the Toyo/Nitto Marks in
    28 association with Defendants' goods and services is likely to cause confusion, and
  iTION                                               16
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   1    Plaintiffs are informed and believe, and based thereon alleges, that such use has
   2 caused consumer confusion as such consumers believe that Defendants' goods and
   3 services are commissioned by, sponsored by, or affiliated with Plaintiffs.
   4             37.      Defendants' use of the Toyo/Nitto Marks is without permission of
   5 Plaintiffs. Plaintiffs are informed and believe, and based thereon allege, that
   6 Defendants willfully use the Toyo/Nitto Marks in connection with the sale, offering
   7 for sale, promotion and advertising of Defendants' goods and services in a manner
   8 likely to cause confusion, or to cause mistake, or to deceive customers that
    9 Defendants' goods and services are authorized by, or affiliated with Plaintiffs.
  10             38.      The above-recited acts by Defendants constitute trademark
  11    infringement of the Toyo/Nitto Marks to the substantial and irreparable injury of
  12    the public and of Plaintiffs' business reputation and goodwill.
  13             39.      Plaintiffs are informed and believe, and based thereon allege, that as a
  14 result of these acts, Defendants have been, and will continue to be, unjustly
  15 enriched by the profits that Defendants have made in connection with the use of the
  16    Toyo/Nitto Marks.
  17             40.      Defendants' continuing infringement has inflicted, and unless
  18    restrained by this Court will continue to inflict, great and irreparable harm upon
  19 Plaintiffs. Plaintiffs have no adequate remedy at law. Plaintiffs are entitled to a
  20 permanent injunction enjoining Defendants from engaging in further acts of
  21    infringement.
  22             41.      Plaintiffs are informed and believe, and based thereon allege, that as a
  23 direct and proximate result of Defendants' acts, Plaintiffs have suffered damages
  24 and are entitled to an award of monetary damages in an amount not yet determined.
  25 Moreover, Defendants are unjustly enriched and Plaintiffs are unjustifiably
  26 damaged each and every time Defendants use the Toyo/Nitto Marks to advertise
  27 and promote its services, and each time a consumer uses Defendants' goods or
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   1    services, as such use by Defendants causes confusion as to their affiliation with
   2 Plaintiffs. Plaintiffs are also entitled to their attorneys' fees and costs of suit herein.
   3             42.      Plaintiffs are informed and believe, and based thereon allege, that
   4 Defendants' acts have been and are continuing in conscious and willful disregard of
   5 the Toyo/Nitto Marks and the resulting damage to Plaintiffs is such as to warrant
   6 the trebling of damages in order to provide just compensation.
   7                                 SECOND CLAIM FOR RELIEF
   8                        (False Designation of Origin - 15 U.S.C. §1125(a))
   9             43.      Plaintiffs repeat, reallege and incorporate by reference, as though fully
  10    set forth herein, the allegations in all prior and subsequent paragraphs.
  11             44.      Plaintiffs are informed and believe, and based thereon allege, that
  12    Defendants have used and are using the Toyo/Nitto Marks to advertise, promote
  13 and market Defendants' goods and services with the intent of passing off and
  14 confusing the public into believing that Defendants' goods and services are
  15 sponsored by, endorsed by, or affiliated with Plaintiffs.
  16             45.      Defendants' above recited acts constitute false designation of origin,
  17 false description of fact, false representation, unfair competition and false
  18    affiliation, connection or association in violation of Section 43(a) of the Lanham
  19 Act, 15 U.S.C. § 1125(a), as such acts are likely to have deceived and are likely to
  20 continue to deceive customers and prospective customers into believing that
  21    Defendants' goods and services are from, sponsored by, endorsed by, or affiliated
  22 with Plaintiffs.
  23              46.     If not enjoined by the Court, Defendants will continue to market,
  24 promote and advertise their goods and services in commerce, which services will be
  25 attributed to being sponsored by, endorsed by, or affiliated with Plaintiffs.
  26              47.     Plaintiffs are informed and believe, and based thereon allege, that as a
  27 result of these acts, Defendants have been and will continue to be, unjustly enriched
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   1   by the profits that the Defendants have made in connection with its use of the
   2 Toyo/Nitto Marks.
   3           48.     Plaintiffs are informed and believe, and based thereon allege, that
   4 Defendants' continuing infringement has inflicted, and unless restrained by this
   5 Court, will continue to inflict great and irreparable harm on Plaintiffs. Plaintiffs
   6 have no adequate remedy at law. Plaintiffs are entitled to a temporary and
   7 permanent injunction enjoining Defendants from engaging in further acts of
   8 infringement.
   9           49.     Plaintiffs are informed and believe, and based thereon allege, that as a
  10   direct and proximate result of Defendants' acts, Plaintiffs have suffered damages
  11   and are entitled to an award of monetary damages in an amount not yet determined.
  12   Defendants have been unjustly enriched and Plaintiffs are unjustifiably damaged
  13 each and every time Defendants use the Toyo/Nitto Marks to promote, advertise, or
  14 market their goods and services. Plaintiffs are also entitled to their attorneys' fees
  15 and costs of suit herein.
  16           50.     Plaintiffs are informed and believe, and based thereon allege, that
  17   Defendants' acts were and are in conscious and willful disregard of Plaintiffs'
  18   rights, and the resulting damage to Plaintiffs is such as to warrant the trebling of
  19 damages in order to provide just compensation.
  20                                THIRD CLAIM FOR RELIEF
  21                     (Federal Trademark Dilution - 15 U.S.C. §1125(c))
  22           51.     Plaintiffs repeat, reallege and incorporate by reference, as though fully
  23 set forth herein, the allegations contained in all prior and subsequent paragraphs.
  24           52.     The Toyo/Nitto Marks are distinctive and famous marks.
  25           53.     Defendants began using the Toyo/Nitto Marks in connection with the
  26 advertising, marketing and promotion of their goods and services, including tire
  27 decals and stickers, subsequent to the Toyo/Nitto Marks becoming famous.
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   1            54.     Defendants' advertising, marketing, and promotion of Defendants'
   2 goods and services and their use of the Toyo/Nitto Marks causes dilution by
   3 lessening the capacity of the Toyo/Nitto Marks to identify and distinguish
   4 Plaintiffs' goods and services. Defendants' use of the Toyo/Nitto Marks also
   5 causes dilution by tarnishment thereby harming the reputation of the Toyo/Nitto
   6 Marks.
   7            55.     By reason of the acts complained of herein, Defendants have caused
   8 the dilution of the distinctive quality of the Toyo/Nitto Marks, lessened the capacity
   9 of the Toyo/Nitto Marks to identify and distinguish Plaintiffs' goods and services,
  10 and tarnished the Toyo/Nitto Marks in violation of 15 U.S.C. §1125(c).
  11            56.     As a result of their acts, Defendants have been, and will continue to be,
  12   unjustly enriched by the profits Defendants have made in connection with its
  13 advertising, promoting and marketing of Defendants' goods and services.
  14            57.     Defendants continuing infringement has inflicted, and unless
  15 restrained by this Court, will continue to inflict great and irreparable harm upon
  16   Plaintiffs. Plaintiffs have no adequate remedy at law. Plaintiffs are entitled to a
  17 temporary and permanent injunction enjoining Defendants from engaging in further
  18   acts of infringement.
  19            58.     Plaintiffs are informed and believe, and based thereon allege, that as a
  20 direct and proximate result of Defendants' acts, Plaintiffs have suffered damages
  21   and are entitled to an award of monetary damages in an amount not yet determined.
  22 Defendants have been unjustly enriched and Plaintiffs are unjustifiably damaged
  23 each and every time Defendants use the Toyo/Nitto Marks to promote, advertise, or
  24 market their goods and services. Plaintiffs are also entitled to their attorneys' fees
  25 and costs of suit herein.
  26            59.     Plaintiffs are informed and believe, and based thereon allege, that
  27   Defendants' acts were and are in conscious and willful disregard of Plaintiffs'
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   1   rights, and the resulting damage to Plaintiffs is such as to warrant the trebling of
   2 damages in order to provide just compensation.
   3                              FOURTH CLAIM FOR RELIEF
   4                           (False Advertising - 15 U.S.C. §1125(a))
   5           60.     Plaintiffs repeat, reallege and incorporate by reference, as though fully
   6 set forth herein, the allegations contained in all prior and subsequent paragraphs.
   7           61.     Plaintiffs are informed and believe, and based thereon allege, that
   8 Defendants have in effect created a website, eBay, Instagram, Amazon, Twitter and
   9 Facebook pages and internet and physical marketing materials that appear to create
  10   a connection with Plaintiffs and Defendants. Defendants' use of identical marks
  11   and logos deceive consumers into believing that the entities are somehow related,
  12   affiliated or otherwise related. This deception is material in that the above-
  13 mentioned actions are likely to influence the decision by consumers to purchase
  14 Defendants' goods and services believing that the goods and services originate from
  15 Plaintiffs.
  16           62.     Defendants' above-described acts constitute false advertising in
  17 violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).
  18           63.     As a result of these acts, Defendants have been, and will continue to
  19 be, unjustly enriched by the profits that the Defendants have made in connection
  20 with advertising of its services under the Toyo/Nitto Marks. Such profits have
  21   damaged and will continue to damage Plaintiffs.
  22           64.     Defendants' continuing infringement has inflicted, and unless
  23 restrained by this Court will continue to inflict, great and irreparable harm upon
  24 Plaintiffs. Plaintiffs have no adequate remedy at law. Plaintiffs are entitled to
  25 preliminary and permanent injunctions enjoining Defendants from engaging in
  26 further acts of false advertising.
  27            65.    Plaintiffs are informed and believe, and based thereon allege, that as a
  28 direct and proximate result of Defendants' foregoing acts, Plaintiffs have suffered
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    1   and are continuing to suffer damages. Plaintiffs are entitled to an award of
    2 monetary damages in an amount not yet determined. Defendants continue to be
    3 unjustly enriched and Plaintiffs are unjustifiably damaged each time Defendants
    4 cause confusion by use of the Toyo/Nitto Marks. Plaintiffs are also entitled to an
    5 award of their attorneys' fees and costs of suit herein.
    6            66.     Plaintiffs are informed and believe, and based thereon allege, that
    7 Defendants' acts were and are in conscious and willful disregard of Plaintiffs'
    8   rights and the resulting damage to Plaintiffs are such as to warrant the trebling of
    9 damages in order to provide just compensation.
  10                                     PRAYER FOR RELIEF
  11             WHEREFORE, Plaintiffs respectfully request judgment as follows:
  12             1.      Plaintiffs seek immediate, preliminary and permanent injunctive relief
  13 requiring that Defendants, their affiliates, subsidiaries, officers, directors,
  14 employees, independent contractors, and attorneys, and all persons and/or entities
  15 acting for, with, by, through, or in concert with them or any of them be enjoined
  16    preliminarily and permanently from:
  17                     (a)   Using the Toyo/Nitto Marks and/or any other designation that is
  18 a colorable imitation of and/or is confusingly similar to the Toyo/Nitto Marks, in
  19 any medium (retail, wholesale, internet, physical or otherwise) in connection with
  20 any services, related services or related goods;
  21                     (b)   Representing in any manner, or by any method whatsoever, that
  22 Defendants are in any way affiliated with Plaintiffs, or that the goods, services or
  23 other products or services provided by Defendants are sponsored, approved,
  24 authorized by, or originate from Plaintiffs, or otherwise take an action likely to
  25 cause confusion, mistake or deception as to the origin, approval, sponsorship or
  26 certification of such goods or services;
  27                     (c)   Infringing, diluting and/or tarnishing the distinctive quality of
  28    the Toyo/Nitto Marks;
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   1                   (d)   Participating in any activity involving the use of any of the
   2 Toyo/Nitto Marks in any manner, whether or not they believe the use of such marks
   3 is permissible, unless they receive a prior order from the Court after notice to
   4 Plaintiffs of such a request specifically authorizing such use; and
   5                   (e)   Unfairly competing with Plaintiffs in any manner;
   6           2.      That Defendants are required to give notice of this injunction by
   7 providing a copy hereof to their affiliates, subsidiaries, officers, directors,
   8 employees, independent contractors, and attorneys, and all persons and/or entities
   9 acting for, with, by, through, or in concert with them or any of them, and
  10 Defendants shall provide a list including the name, contact information, and date
  11   notice was given within 10 days of the date of the injunction issues.
  12           3.      That Defendants are required to deliver to Plaintiffs for destruction any
  13 literature, catalogs, decals, stickers, signs, advertising material, and the like bearing
  14 any of the Toyo/Nitto Marks or any confusingly similar variations thereof for
  15 products neither originating from not authorized by Plaintiffs.
  16           4.      That Defendants are required, within thirty (30) days after service of
  17 judgment with notice of entry thereof upon them, to file with the Court and serve
  18   upon Plaintiffs' attorneys a written report, under oath, setting forth in detail the
  19 manner in which Defendants have complied with paragraphs 1, 2 and 3 above.
  20           5.      That Defendants are required to account for and pay over to Plaintiffs
  21   their profits and the cumulative damages sustained by Plaintiffs by reasons of
  22 Defendants' unlawful acts of trademark infringement, false designation of origin,
  23 dilution and unfair competition herein alleged, that the amount of recovery be
  24 increased as provided by law, up to three times, and that interest and costs be
  25 awarded to Plaintiffs.
  26            6.     That the Court order disgorgement and/or restitution of Defendants'
  27 profits to Plaintiffs.
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   1           7.      That for each violation of the trademark rights of Plaintiffs,
   2 Defendants be ordered to pay statutory damages for such violations under each
   3 applicable claim for relief, and where there is a finding of willful infringement or
   4 other conduct entitling Plaintiffs to an increase in statutory damages, for the
   5 maximum award of statutory damages available under each of the applicable claims
   6 for relief set forth above.
   7           8.      That Plaintiffs be awarded their reasonable costs and attorneys' fees.
   8           9.      That Plaintiffs be awarded punitive damages
   9           10.     That Plaintiffs be awarded such other and further relief as the Court
  10   may deem equitable.
  11   DATED: March 12, 2020                      BUCHALTER
  12                                              A Professional Corporation

  13
  14                                              Bv: /s/ Michael L. Meeks
                                                              MICHAEL L. MEEKS
  15                                                          Attorneys for Plaintiffs
                                                       TOYO TIRE U.S.A. CORP., TOYO
  16                                                         TIRE CORPORATION,
                                                          AND NITTO TIRE U.S.A. INC
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       COMPLAINT
       BN 35625029vl
Case 8:20-cv-00502-JLS-KES Document 1 Filed 03/12/20 Page 25 of 62 Page ID #:25




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                                                                        TOYO TIRES
       FUELED BY ENTHUSIASTS®



       K. Noelle Peters
       Associate General Counsel
       Toyo Tire Holdings of Americas Inc.
       5G65 Plaza Drive, Suite 200
       Cypress, CA 90630
       Tel: 714-229-6105
       Pi'tersN"ToyoTirosHA cum


       December 12, 2018



       Via FedEx

       TIREGRAFICX
       Attn: Steven Mandala
       shop tireqraficx.com
       8600 Commodity Circle, Suite 148
       Orlando, FL 32819

       (407)900-0190

                        Re:   Intellectual Property Infringement of Toyo and Nitto Names/Logos



       Dear Mr. Mandala:

       I am Associate General Counsel at Toyo Tire Holdings of Americas Inc. and its affiliated corporations,
       Toyo Tire U.S.A. Corp. ("Toyo") and Nitto Tire U.S.A. Corp. ("Nitto").

       It has come to our attention that you are selling Toyo and Nitto logo stickers and decals, and using
       Toyo and Nitto's names and logos on your website (htps://shop.tiregraficx.com), Instagram site,
       Facebook page, YouTube channel (Scuderia AutoMobili-TireGraficx Installation Video) and eBay
       store (jsimportco) without our permission (e.g. NITTO logo, NT icon, NITTO NT555, NITTO iNVO,
       TRAIL GRAPPLER, RIDGE GRAPPLER, TERRA GRAPPLER G2, DUNE GRAPPLER.TOYO,
       PROXES, OPEN COUNTRY, TOYO R888, DRIVEN TO PERFORM and TOYO TIRES). Among
       other things, your sites and eBay store suggest an affiliation between Toyo/Nitto and TIREGRAFICX,
       when none exists.

       Your unauthorized use of Toyo and Nitto's names and logos constitute an infringement under U.S.
       trademark, copyright and other intellectual property and unfair competition laws. We request that
       you cease and desist immediately from selling Toyo and Nitto logo decals and all further
       unauthorized uses of Toyo and Nitto's names and logos in any manner whatsoever, including but not
       limited to uses on your website, Facebook page, Instagram page, and YouTube channel

       When this type of unauthorized usage occurs, we like to believe that the actions have been
       inadvertent and not a case of intentional intellectual property infringement. However, in this case it
       appears that you have been notified repeatedly about these violations by eBay's Verified Rights
       Owner Program (VeRO Team).




                                                    Page 1 of 2


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                                                                        TOYO TIRES
       FUELED BY ENTHUSIASTS*




       Please give this matter your immediate and serious attention and contact me immediately to advise
       of the steps that you have taken and will be taking to correct these egregious violations of Toyo and
       Nitto's proprietary rights.

       We hope that we can resolve this misunderstanding without court intervention. Should however,
       this matter not be immediately resolved to Toyo and Nitto's satisfaction, this offer of settlement is
       without waiver of any of Toyo and Nitto's rights and remedies, all of which are expressly reserved.

       We look forward to hearing from you not later than December 30th, 2018.


                                                                   Sincerely,




                                                                   K. Noelle Peters
                                                                   Associate General Counsel
                                                                   Toyo Tire Holdings of Americas Inc.



       Attachments

       bcc:   Toyo Tire & Rubber Co., Ltd
              Toyo Tire U.S.A. Corp.
              Nitto Tire U.S.A. Inc.




                                                   Page 2 of 2


                                                                                     EXHIBIT A, PAGE 27
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                                          Toyo Tires, Tire Lettering, and Accessories
          Our offerings of Toyo Tires, Tire Decal Kits, and Toyo Tire Lettering in both
          Permanent Raised Rubber and Temporary Heat Pressed Decal DIY Kits.
          Established *1 1966. Toyo Tre US A Corp represents the innovation, quality, performance,and eicedent service thai Toyo rites has delivered erjrtdwxJe for more dw /0 years We
          offer a complete selection of premasn replacement taw for nearly every make and model mdutknglight uudu, SUVs. r>ighperformance cars, and kjnay             as ere* ai
          commercial ducks Many of these ires arv burfl here m the lln?ted Stat« at our state of the- art factory m Bartow County. Ceorgu
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                        Home » Shop Tire Lettering > Shop By Brand > Nitto




                                                         Nitto Tires, Tire Lettering, and Accessories
                        Our offerings of Nitto Tires, Tire Decal Kits, and Nitto Tire Lettering in both
                        Permanent Raised Rubber and Temporary Heat Pressed Decal DIY Kits.
                        Fourvfcd n 1949 Nrtto I*e tt doyen by passion and mnovutiort We create Urea for those wtw are enthusiastic about their vehicles We always sl/rv* to anticipate and drive conwmer
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                        modem aesthetics with cutting-edge technology this technology has helped us create son* of the most tadlcat looking lire designs on the market today Ihese memorable designs
                        ,YP the result of state-of the art development, quality engine*™*} andnqorous testing procedures By incorporating computer modeleddesigns for road noise reduction and a program
                        that ads in enhancing dynamic contact points while drmn^ on engineers successfully identify andcounteract undesirable tire iespouses in a variety of driving condrtom Hi addition,
                        the tested trchrcJogicai advances in polymer tread rcvnporaids allow our engineers to deliver tnify high-quality tries that provide eatended tread life, oi^jruved traction on both wet and
                        dry roads and inspire drrvo wtisfaction
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                     EXHIBIT B

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   Buchalter                                                                                18400 Von Kacman Avenue
                                                                                            Suite 800
                                                                                            Irvine, CA 92612
                                                                                            949,780.1121 Phone
                                                                                            949.720.0182 Fax
                                                                                            File Number: T9936-0003
   i.VVk,-.,, O n n i n                                                                     949,224.6431 Direct
   1 cbruary  a,    201
                      )                                                                     rrsmeet(6@Buctialtef,C0m




   VIA E-MAIL (STEVENMANDALA74@GMAIL.COM)
   AND FEDEX OVERNIGHT DELIVERY

   Mr, Steven Mandala                                                                            •
   8600 Commodity Circle, Ste 148
   Orlando, Florida 32819

            Re;       Toyo Tire Corporation et al. v. Steven Mandala, Tire Grafiex, Inc. and Formula
                      Tire Corporation, Inc.

   Dear Mr, Mandala:

           This letter and the attached draft Complaint follow up on our clients Toyo Tire
   Corporation, Toyo Tire U.S.A. Corp., and Nitto Tire U.S.A. Inc.'s (collectively "Toyo Tire")
   letter dated December 12, 2018 ("Cease & Desist Letter"). Toyo Tire never received any
   response to its Cease & Desist Letter and all of the illegal activity described in the Cease &
   Desist Letter has continued.

          This letter represents Toyo Tire's last effort to secure your agreement to cease and desist
   from any further unlawful activity as described in the Cease & Desist Letter and the attached
   draft Complaint. Your unauthorized use of the Toyo and Nitto trademarks is a violation of the
   Lanham Act and will result in an injunction against you and your companies, as well as awards
   of compensatory and punitive damages and attorney's fees.

            Toyo Tire takes its intellectual property rights very seriously and will bring this matter to
   court unless your conduct ceases immediately. You have until February 20, 2019 to respond to
   this letter agreeing (1) to remove all advertising, marketing, photos and other references to Toyo
   and Nitto from all of your internet activities including, but not limited to, the
   www.tirearaficx.com website, Twitter, Instagram, Faeebook, EBay, Amazon and all other
   internet activities through which you advertise or sell products; (2) to certify that all deeals,
   stickers, and other products of any kind that have any reference to Toyo or Nitto have been
   recovered from any vendor and that all such materials including all those in your possession have
   been destroyed; (3) to cancel any orders for any such products from your suppliers; (4) to destroy



                                                                                              buchalfer.com
                                                                                              Los Angeles
                                                                                              Napa Valley
                                                                                              Orange County
                                                                                              Sacramento
                                                                                              San Francisco
                                                                                              Scottsdale
   BN 355841 Wv I                                                                             Seattle


                                                                                EXHIBIT B, PAGE 38
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    Buchalter
   Mr. Steven Mandala
   February 8, 2019                                                                             •
   Page 2

   all other marketing, advertising, price lists and other materials referencing Toyo or Nitto; (5) to
   agree not to sell, order, make, or create, any goods using the Toyo or Nitto marks or anything
   confusingly similar; and (5) to agree not to assist others to sell, order, make, or create any goods
   using the Toyo or Nitto marks or anything confusingly similar.

          This is not intended as a complete statement of our clients' rights, remedies or claims.
   Our clients reserve all of their rights whether arising in law or in equity.

                                               Very truly yours,

                                               BUCHALTER




    MLMrgt

   Enclosure




   BN 35584199VI

                                                                               EXHIBIT B, PAGE 39
     Case 8:20-cv-00502-JLS-KES Document 1 Filed 03/12/20 Page 40 of 62 Page ID #:40

TooJe^Gert

From:                            TrackingUpdates@fedex.com
Sent:                            Monday, February 11, 2019 7:18 AM
To:                              Tooiey, Geri
Subject:                         FedEx Shipment 774425675191 Delivered




This tracking update has been requested by:

Company Name:             Buchalter
Name:                Michael L. Meeks
E-mail:             gtooley@buchalter.com




Our records indicate that the following shipment has been delivered:




Reference:                   T9936-0003
Ship date:                  Feb 8, 2019
Signed for by:                S. MAN D ALA
Delivery location:              ORLANDO, FL
Delivered to:                 Receptionist/Front Desk
Delivery date:                Mon, 2/11/2019 10:15 am
Service type:                 FedEx Priority Overnight®
Packaging type:                 FedEx® Envelope
Number of pieces:                1
Weight:                     1.00 lb.
Special handling/Services           Deliver Weekday
Standard transit:              2/11/2019 by 10:30 am

Tracking number:            774425675191



Shipper Information          Recipient Information
Michael L. Meeks           Mr. Steven Mandala
Buchalter              TIREGRAFICX
18400 Von Karman Avenue          8600 Commodity Circle
Suite 800              Suite 148
Irvine               ORLANDO
CA                  FL
US                  US
92612                 32819




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                                                                         EXHIBIT B, PAGE 40
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Thank you for your business.




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                     EXHIBIT C

                                                          EXHIBIT C, PAGE 42
Case 8:20-cv-00502-JLS-KES Document 1 Filed 03/12/20 Page 43 of 62 Page ID #:43




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   Buchalter                                                                              AVENUE
                                                                                          SUITE 800
                                                                                          IICT INK, CA 92612
                                                                                          949.760.1121 PHONE
                                                                                          949.720.0182 FAX
                                                                                          File Number: T9936-0003
                                                                                          949.224,8431 Direct
   November 18, 2019                                                                      mmeete@Buclialt8r.com




   VIA EMAIL (STEVENMANDALA74@GMA1L.COM)
   AND VIA FEDERAL EXPRESS

   Steven Mandala
   d/b/a JS1MPORTCO        '
   d/b/a www.tiregrafiex.com
   8600 Commodity Circle, Ste. 148
   Orlando, Florida 32819

             Re;     Cease & Desist re Toyo Tires and Nitto Trademarks

   Dear. Mr, Mandala:                                                       '

            As you know, we represent Toyo Tire U.S.A. Corp. ("Toyo") and Nitto Tire U.S.A. Inc.
   ("Nitto"). Toyo and Nitto hereby demand that you immediately cease and desist from any use of
   their trademarks on your website www.tiregrafiex.com and any other websites, advertising, and
   marketing of any kind. In addition, Toyo and Nitto hereby demand that you cease and desist
   from any further sale of tire stickers using any of their trademarks unless those tire stickers are
   manufactured by an authorized manufacturer.

           Tire stickers using Toyo's and Nitto's trademarks that do not come from authorized
   manufacturers are counterfeit goods. Your sale of counterfeit goods is a violation Toyo's and
   Nitto's trademark rights under the Lanham Act as well as other statutes and case law. If you
   continue the unauthorized use of Toyo's and Nitto's trademarks and/or continue to sell
   counterfeit goods, you will be subject to claims for damages, treble damages, lost profits and
   your counterfeit goods will be subject to seizure.




                                                                                            buchalter.com

                                                                                                      County
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                                                                                EXHIBIT C, PAGE 43
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    Buchalter


    Steven Mandala
    November 18,2019
    Page 2


           We are aware that you claim the right to use Toyo's and Nitto's trademarks pursuant to a
    purported sublicense from TredWear based upon your claims in Steven Mandala v. Tire Stickers
    LLC, et at., U.S.D.C, Middle District of Florida, Case No, 18-cv-02110-RDB ("Mandala Federal
    Case"). First, Tred Wear never held any license to use any Nitto trademarks and had no ability to
    ever sublicense any Nitto trademarks for your use. Second, the purported sublicense you
    provided is a forgery that does not match any agreement between Toyo and TredWear for
    authorizing subI icenses,

            Third, the purported sublicense limited the use of certain Toyo trademarks for the sale of
    TredWear tire stickers. As we informed you in February 2019, TredWear ceased to be a licensee
    of Toyo at the end of 2018 and no tire stickers from TredWear could be made after that date.
    You confirmed that you would sell the last of your TredWear tire stickers by May 2019. Your
    allegations in the Mandala Federal Case state that you are manufacturing your own tire stickers.
    Such tire stickers are counterfeits and you were never authorized to use Toyo's or Nitto's
    trademarks to manufacture your own tire stickers. Fourth, you have continued to use Toyo's and
    Nitto's trademarks without authorization even though you knew you had no rigid to use those
    trademarks.                                                                 '

             While Toyo and Nitto believe you never had any right to use their trademarks under the
    purported sublicense from Tred Wear, they want to make clear to you that any purported rights
    that might exist to use their trademarks pursuant to any purported license or sublicense are
    hereby terminated immediately. You have five days to confirm in writing that you have (1)
    removed all of Toyo's and Nitto's trademarks from any and all websites, advertising, EBay web
    pages, Amazon web pages, Facehook pages, and any other internet sales medium of any kind; (2)
    removed all of Toyo's and Nitto's trademarks from any and all print advertising, signage,
    business cards, brochures, and any other marketing/sales materials of any kind; (3) destroyed all
    tire stickers bearing Toyo's and Nitto's trademarks that were not made by an authorized
    manufacture; and (4) agree to cease all future sale of counterfeit tire stickers and cease all future
    use of Toyo's and Nitto's trademarks. The foregoing applies to you personally as well as any
    company that you own, control, manage, or are otherwise an agent of.




    BN .18479717vi



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    Buchalter


    Steven Mandala
    November 18, 2019
    Page 3


            If we do not receive your written agreement to the foregoing, Toyo and Nitto will be
    forced to take all legal steps necessary to protect their intellectual property rights. This is not a
    complete statement of the facts, law or rights of Toyo or Nitto, and they reserve all of their rights
    whether arising in law or in equity.
                '                                 Very truly yours,

                                                 BUCHALTER
                                                 A Professional Corporation


                                                                 r
                                                 Miofiael L, Meeks

    MLM:gt




    BM 38479?i?v I

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                                                           ————
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Sent:                              Tuesday, November 19, 2019 7:26 AM
To:                                Tooley, Geri
Subject:                           FedEx Shipment 777014052450 Delivered




This tracking update has been requested by:


Company Name:             Buchalter
Name:                Michael L. Meeks, Esq.
E-mail:             gtooley@buchalter.com




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Reference:                    T9936-0003
Ship date:                    Nov 18, 2019
Signed for by:                 S.MANDALA
Delivery location:               ORLANDO, FL
Delivered to:                  Receptionist/Front Desk
Delivery date:                 Tue, 11/19/2019 10:22 am
Service type:                  FedEx Priority Overnight®
Packaging type:                  FedEx® Envelope
Number of pieces:                 1
Weight:                       0.50 lb.
Special handling/Services            Deliver Weekday
Standard transit:                11/19/2019 by 10:30 am


Tracking number:              777014052450



Shipper Information              Recipient Information
Michael L. Meeks, Esq.            Mr. Steven Mandala
Buchalter                   d/b/a JSIMPORTCO d/b/a TIREGRAFICX
18400 Von Karman Avenue         8600 Commodity Circle
Suite 800             Suite 148
Irvine              ORLANDO
CA                       FL
US                       US
92612                      32819




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                                                        About TIREGRAFICX

                                           TIREGRAFICX is the world' s largest distributor and manufacturer of

                                           Custom Tire Designs, Tire Lettering Kits, and Tire Decals

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                 Refine by                                                                      Toyo Tires, Tire Lettering, and Accessories

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                                                Our offerings of Toyo Tires. Tire Decal Kits, and Toyo Tire Lettering in both Permanent Raised Rubber and Temporary
                                                Heat Pressed Decal DIY Kits

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         Enlargement of the fine print above - Tiregraficx claims to be a Toyo Tire authorized retailer



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                Categories                  Nitto

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     Enlargement of fine print - Tiregrafiex claims to be a Nitto authorized retailer


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                                            SHOP NOW




               You Still Have Time to Get Your
               TIREGRAFICX Before Christmas
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 WINTER SALE EVENT -- Code: WINTER * # *###* * *                                      Pa£e 1 of2




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                Code: WINTER
         SAVING      DOESN'T END WITH BLACK                          FRIDAY/CYBER
                      MONDAY.          SHOP NOW AND SAVE!




                                           Shop Sale




        You're one of the lucky ones... Get ahead of the pack and earn 20% off your
        Permanent Lettering Kit before they sell out on Black Friday/Cyber Monday.
        Click the link HERE and the coupon is automatically applied during checkout.




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                30% off all Tire Lettering
                  Stickers. Code: BFCM




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  30% Off, Black Friday/Cyber Monday. Tire Lettering Stickers HUGE SALE          Page 2 of 7




          BLACK FRIDAY/CYBER MONDAY -
                30% OFF ALL KITS
                                        Start Shopping




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 30% Off, Black Friday/Cyber Monday. Tire Lettering Stickers HUGE SALE                   Page 3 of 7




                                        NORTH RMKI




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        All Custom Tire Lettering Stickers
        are on sale now! Check out our
                                                     What's on sale
        collections of branded tire lettering
                                                     Fashion-forward and aggressive
        kits!
        View similar products »                      custom Michelin styled tire lettering.
                                                     On sale now!
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        You're one of the lucky ones... Get ahead of the pack and earn 30% off your
        Permanent Lettering Kit before they sell out on Black Friday/Cyber Monday.
        Click the link HERE and the coupon is automatically applied during checkout.




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